914 F.2d 1491Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Curtis MITCHELL, Plaintiff-Appellant,v.D.W. ARTIS;  Raymond Fields;  Sergeant Carter;  Commonwealthof Virginia, Department of Corrections,Defendants-Appellees.
    No. 90-6850.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 27, 1990.Decided Sept. 25, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  James C. Cacheris, District Judge.  (C/A No. 89-1791-AM).
      Curtis Mitchell, appellant pro se.
      E.D.Va.
      AFFIRMED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Curtis Mitchell appeals the district court's dismissal of this 42 U.S.C. Sec. 1983 action for failure to pay the assessed filing fee.  Finding that the district court complied with the procedures approved in Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and did not abuse its discretion in dismissing the action without prejudice, we affirm the district court's order.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    